503 F.2d 560
    Fed. Sec. L. Rep.  P 94,847Frank J. CRIMMINS, Plaintiff-Appellant,v.AMERICAN STOCK EXCHANGE, INC., Defendant-Appellee.
    No. 26, Docket 74-1289.
    United States Court of Appeals, Second Circuit.
    Argued Sept. 9, 1974.Decided Oct. 8, 1974.
    
      Donald Stuart Bab, New York City (Seymour Swidler, William J. Burke and Spear &amp; Hill, New York City, on the brief), for plaintiff-appellant.
      John J. Loflin, New York City (Lord, Day &amp; Lord, New York City, on the brief), for defendant-appellee.
      Before SMITH, TIMBERS and GURFEIN,1 Circuit Judges.
      PER CURIAM:
    
    
      1
      Frank J. Crimmins, a former registered representative of Walston &amp; Co., Inc., which in turn was a member firm of the American Stock Exchange, appeals from a judgment entered December 18, 1973 in the Southern District of New York, Morris E. Lasker, District Judge, denying Crimmins' motion for summary judgment, granting the Exchange's cross-motion for summary judgment and dismissing Crimmins' action to vacate the determination by a disciplinary panel of the American Stock Exchange, acting pursuant to Section 6 of the Securities Exchange Act of 1934, 15 U.S.C. 78f (1970), which found Crimmins guilty of violations of the Exchange rules in connection with trading in the stock of Four Seasons Nursing Centers of America, Inc., and suspended him for two years.
    
    
      2
      We have carefully considered each of Crimmins' claims of error and find them to be without merit.  We affirm on the comprehensive, well-reasoned opinion of Judge Lasker below.  368 F.Supp. 270 (S.D.N.Y.1973).
    
    
      3
      Affirmed.
    
    
      
        1
         At the time of oral argument, Judge Gurfein was a District Judge of the United States District Court for the Southern District of New York, sitting by designation
      
    
    